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                          UNITED STATES OF AMERICA
                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


MICHAEL BRUCE VORCE,

                    Plaintiff,                    Case No. 1:13-cv-801

v.                                                Honorable Paul L. Maloney

INTELEPEER, INC. et al.,

                  Defendants.
____________________________________/

                                       JUDGMENT

             In accordance with the Order issued this date,

             IT IS ORDERED that the captioned case be and hereby is DISMISSED without

prejudice.



Dated:   September 4, 2013                        /s/ Paul L. Maloney
                                                  Paul L. Maloney
                                                  Chief United States District Judge
